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                                   MEDIATION SETTLEMENT AGREEMENT

    MARCELO A. ARRILLAGA and WILFREDO TORRES ESTRADA,
        Plaintiffs,
    vs.

    SMART BUY FURNITURES, INC.; GIANCARLO TORRES; SARRA TORRES, and NADIA ESCOTO,
       Defendants,

    U.S. DISTRICT {SOUTHERN-MIAMI DIVISION) COURT CASE NO.: 18-24698-CV-
    COOKE/GOODMAN


    The parties and/or their respective attorneys and/or representatives hereby stipulate and agree
    that

    all matters arising out of the above matter, are hereby resolved as follows:

    Defendants,                                           ,   shall     pay      to       the       Plaintiffs,
    _ __ __ _   -_-_
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                             - am-ou_n_t_o_f_$'7"     __,) (()(j ,0
                                              ~ ......0                cJ             . Eacli party shall bear ,
    its respective attorney fees and costs. -All other matters discussed at the mediation conference
    shall remain privileged and confidential, unless otherwise agreed by all the parties or required by
    law. The court shall retain jurisdiction to enforce the terms of the settlement agreement.

    Additional terms:   fV\ u .\-v~ \   &,\ec..-J -t       lvQ3- ~1 >!2"-.--J~J. ~ "' ve) (o-.,... f::i_p,rc._ '-
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